         Case 2:13-cr-00138-BLW Document 27 Filed 07/18/13 Page 1 of 3




                         UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO




 UNITED STATES OF AMERICA,                        Case No. 2:13-CR-00138-BLW

                      Plaintiff,
                                                  ORDER CONTINUING TRIAL
        v.                                        AND TRIAL READINESS
                                                  CONFERENCE
 BILLY E. MOFFITT, and ANGELINE
 MORAGO GEORGE,

                      Defendants.


       The Court has before it Defendant Moffitt’s Motion to Continue Trial (Dkt. 26).

Defendant states that counsel needs additional time to prepare for trial. Defendant

requests an additional 60 days.

       Under all these circumstances, the Court finds that a continuance is needed to give

defense counsel an opportunity to provide an effective defense. Thus, a continuance is

warranted under 18 U.S.C. § 3161(h)(7)(B)(iv), which authorizes a finding of excludable

time when the refusal to grant a continuance would “deny counsel for the defendant . . .

the reasonable time necessary for effective preparation . . . .” Under these circumstances,

the interests of justice in allowing the defense time for effective preparation outweighs

the defendant’s and the public’s interest in a speedy trial under 18 U.S.C. §

3161(h)(7)(A). The statements of defense counsel establish that the trial should be reset



ORDER - 1
         Case 2:13-cr-00138-BLW Document 27 Filed 07/18/13 Page 2 of 3




on October 7, 2013 at 1:30 p.m. Pacific Time at the United States Courthouse in Coeur

d’Alene, Idaho. The Court finds that the period of time between the present trial date and

the new trial date is excludable time under the Speedy Trial Act.

       Co-defendant George has not moved for a continuance. However, she has not

opposed the motion. Under the Speedy Trial Act, 18 U.S.C. § 3161(h)(6), excludable

time exists for “a reasonable period of delay when the defendant is joined for trial with a

co-defendant as to whom the time for trial has not run and no motion for severance has

been granted.” No motion for severance has been filed. Accordingly, pursuant to 18

U.S.C. § 3161(h)(6), the Court finds that the excludable time found for the defendant

moving for a continuance also applies to the co-defendant. Thus, Defendant George will

have trial moved to October 7, 2013 as well. Accordingly,

       NOW THEREFORE IT IS HEREBY ORDERED that the Motion to Continue

Trial (Dkt. 26) shall be, and the same is hereby GRANTED, and that the present trial date

be VACATED, and that a new trial be set for October 7, 2013 at 1:30 p.m. Pacific Time

in the U.S. Courthouse in Coeur d’Alene, Idaho.

       IT IS FURTHER ORDERED that the period of time between the prior trial date

and the new trial date be deemed EXCLUDABLE TIME under the Speedy Trial Act, 18

U.S.C. § 3161(h)(6) and (7)(A) & (B).

       IT IS FURTHER ORDERED that the current trial readiness conference be

VACATED, and that a new trial readiness conference be conducted by telephone on

September 25, 2013 at 4:00 p.m. Mountain Time. The Government shall place the call

ORDER - 2
        Case 2:13-cr-00138-BLW Document 27 Filed 07/18/13 Page 3 of 3




to (208) 334-9145 with opposing counsel on the line.

      IT IS FURTHER ORDERED that all pretrial motions shall be filed on or before

September 9, 2013.



                                        DATED: July 18, 2013



                                        B. LYNN WINMILL
                                        Chief U.S. District Court Judge




ORDER - 3
